
PER CURIAM.
Affirmed. See Burrows v. State, 890 So.2d 286 (Fla. 2d DCA 2004); McCall v. State, 862 So.2d 807 (Fla. 2d DCA 2003); O’Neal v. State, 862 So.2d 91 (Fla. 2d DCA 2003); Cook v. State, 816 So.2d 773 (Fla. 2d DCA 2002); Arnold v. State, 566 So.2d 37 (Fla. 2d DCA 1990); LaMar v. State, 823 So.2d 231 (Fla. 4th DCA 2002). As this court did in McCall, we certify direct conflict with Richardson v. State, 884 So.2d 950 (Fla. 4th DCA 2003), review granted, No. SC04-174, 898 So.2d 81, 2005 WL 937726 (Fla. Apr. 1, 2005).
Affirmed; conflict certified.
ALTENBERND, C.J., and SALCINES and SILBERMAN, JJ., concur.
